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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANDREW JAMES MCGONIGLE, et al.,               :
                                              :       No. 25-cv-326-JMY
        v.                                    :
                                              :
PERPAY, INC.,                                 :

                                             ORDER

        AND NOW, this 30th day of May, 2025, it is hereby ORDERED that the Application for

Admission Pro Hac Vice of Robert Y. Sperling, Esquire, (ECF No. 27) to practice in this Court

pursuant to Local Rule of Civil Procedure 83.5.2(b) is GRANTED. 1



                                              BY THE COURT:

                                                 /s/ John Milton Younge
                                              Judge John Milton Younge




        1
          This Court’s Local Rules require attorneys, including those admitted pro hac vice, to
complete the registration process for the Court’s ECF system. Instructions and forms are
available on the Court website at: NextGen CM/ECF | Eastern District of Pennsylvania | United States
District Court (uscourts.gov)
